                Case 19-01198-hb                  Doc 1     Filed 03/01/19 Entered 03/01/19 12:14:09                             Desc Main
                                                            Document      Page 1 of 50

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF SOUTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mairec Precious Metals U.S., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  230 Old Converse Road
                                  Spartanburg, SC 29307
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Spartanburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.mairec.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Mairec Precious Metals U.S., Inc.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3279

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Mairec Precious Metals U.S., Inc.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Mairec Precious Metals U.S., Inc.                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 28, 2019
                                                  MM / DD / YYYY


                             X   /s/ David M. Baker                                                       David M. Baker
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ G. William McCarthy Jr.                                               Date February 28, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 G. William McCarthy Jr. 2762
                                 Printed name

                                 McCarthy, Reynolds, & Penn, LLC
                                 Firm name

                                 P. O. Box 11332
                                 Columbia, SC 29211-1332
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     803-771-8836                  Email address


                                 2762 SC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Mairec Precious Metals U.S., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        x         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        X         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        X         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        X         Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
         X        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 28, 2019                       X /s/ David M. Baker
                                                                       Signature of individual signing on behalf of debtor

                                                                       David M. Baker
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 19-01198-hb                      Doc 1        Filed 03/01/19 Entered 03/01/19 12:14:09                                       Desc Main
                                                                       Document      Page 6 of 50

 Fill in this information to identify the case:
 Debtor name Mairec Precious Metals U.S., Inc.
 United States Bankruptcy Court for the: DISTRICT OF SOUTH CAROLINA                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 366 Processing                                                  Litigation             Disputed                                                                    $16,000,000.00
 Service, Inc.
 5115 East Hwy 80
 Somerset, KY 42502
 Unicredit                                                                                                                                                            $4,986,591.79
 150 East 42nd Street
 New York, NY 10017
 PGM of Texas, LLC                                               Litigation             Disputed                                                                      $3,000,000.00
 126 Texas Avenue
 San Marcos, TX
 78666
 Commerzbank                                                     Originally                                                                                           $2,807,330.00
 Aktiengesellschaft                                              $1,200,000
 225 Liberty Street                                              unsecured term
 New York, NY                                                    loan facility dated
 10281-1050                                                      2/25/16; principal
                                                                 payments $48,000
                                                                 quarterly starting
                                                                 2/28/17 with
                                                                 baloon payment
                                                                 on 2/28/20
 Davis Recycling,                                                Litigation          Disputed                                                                           $847,000.00
 Inc.                                                            Subject to $26,127 Subject to
 639 Woodlyn Road                                                setoff              Setoff
 Johnson City, TN
 37601
 Ford Component                                                                                                                                                         $703,422.00
 Sales, LLC
 290 Town Center
 Drive
 Suite 1000
 Dearborn, MI 48126
 LKQ Corporation                                                 Litigation             Disputed                                                                        $500,000.00
 500 West Madison
 Street
 Suite 2800
 Chicago, IL 60661


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Mairec Precious Metals U.S., Inc.                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Mastermelt America,                                             Subject to $4,566      Subject to                                                                      $343,070.00
 LLC                                                             setoff                 Setoff
 319 Industrial Park
 Road
 Sweetwater, TN
 37874
 Eberspaecher North                                                                                                                                                     $228,132.58
 America, Inc.
 29101 Haggerty
 Road
 Novi, MI 48377
 Interlake Salvage                                                                                                                                                      $106,038.50
 47 Patterson Drive
 Stonewall MB ROC
 2Z0
 Canada
 The Recycler Core                                                                                                                                                        $76,824.00
 Co., Inc.
 2727 Kansas
 Avenue
 Riverside, CA 92507
 Bessler's U Pull and                                            Subject to $42,794 Subject to                                                                            $71,905.24
 Save                                                            setoff             Setoff
 2412 Petersburg Rd
 Hebron, KY 41048
 Reed's                                                                                                                                                                   $64,602.00
 Transmission
 11805 N. US
 Highway 25E
 Gray, KY 40734
 Dependable Metal                                                Subject to             Subject to                                                                        $58,083.50
 Recycling                                                       $354,146 setoff        Setoff
 4140 Moreland
 Avenue
 Conley, GA 30288
 Brandywine Auto                                                                                                                                                          $51,806.64
 Parts
 14000 Crain Hwy
 Brandywine, MD
 20613
 Multimetco, Inc.                                                                       Unliquidated
 1610 Frank Ayers
 Road
 Anniston, AL 36207
 Robert Bosch LLC                                                                       Unliquidated
 4421 Highway 81
 North
 Anderson, SC 29621
 SWC Trading, Inc.                                                                      Unliquidated
 1600 1st Avenue
 South
 Columbus, MT
 59019

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Mairec Precious Metals U.S., Inc.                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Umicore                                                                                Unliquidated
 A.Greinerstraat 14
 B-2660 Hoboken
 Belgium
 Volkswagen Group                                                                       Unliquidated
 of America, Inc.
 2200 Ferdinand
 Porsche Drive
 Herndon, VA 20171




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name         Mairec Precious Metals U.S., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Mairec Precious Metals U.S., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $45,702.13          Unknown
           Employee Wages and Benefits                               Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     See attached Exhibit A subject to Debtor's First
                                                                     Day Motions
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown           Unknown
           Internal Revenue Service                                  Check all that apply.
           Centralized Insolvency Operation                             Contingent
           PO Box 7346                                                  Unliquidated
           Philadelphia, PA 19101-7346                                  Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Federal Unemployment and withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 12
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 Debtor       Mairec Precious Metals U.S., Inc.                                                               Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $3,873.00         $3,873.00
           Mairec Precious Metals U.S. Inc                           Check all that apply.
           230 Old Converse Road                                        Contingent
           Spartanburg, SC 29307                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Retirement Savings Plan
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           Unknown
           SC Department of Revenue                                  Check all that apply.
           300A Outlet Pointe Boulevard                                 Contingent
           PO Box 12265                                                 Unliquidated
           Columbia, SC 29211-9979                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     SC Withholding Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           Unknown
           SC Dept of Employment and                                 Check all that apply.
           Workforce                                                    Contingent
           1550 Gadsden Street                                          Unliquidated
           PO Box 8597                                                  Disputed
           Columbia, SC 29202
           Date or dates debt was incurred                           Basis for the claim:
                                                                     SC Unemployment Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           Unknown
           Spartanburg County Assessors                              Check all that apply.
           Office                                                       Contingent
           Spartanburg County                                           Unliquidated
           Administration Bldg                                          Disputed
           366 N Church Street
           Spartanburg, SC 29303
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Business Personal Property Tax for SC
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 12
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 Debtor       Mairec Precious Metals U.S., Inc.                                                       Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,249.08
          141 Venture, LLC                                                      Contingent
          101 E. Washington Street                                              Unliquidated
          Suite 400                                                             Disputed
          Greenville, SC 29601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,000,000.00
          366 Processing Service, Inc.                                          Contingent
          5115 East Hwy 80                                                      Unliquidated
          Somerset, KY 42502
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,897,038.00
          366 Processing Service, Inc.                                          Contingent
          5115 East Hwy 8                                                       Unliquidated
          Somerset, KY 42502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $6,143,747 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,250.00
          Abberly Market Point                                                  Contingent
          30 Market Point Drive                                                 Unliquidated
          Greenville, SC 29607                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,293.69
          ABC Used Auto Parts                                                   Contingent
          18609 E Colonial Drive                                                Unliquidated
          Orlando, FL 32820                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $28,445 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $78.18
          Adams Scrap Recycling, LLC                                            Contingent
          419 Old Easley Hwy                                                    Unliquidated
          Greenville, SC 29611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,345.98
          Aetna, Inc                                                            Contingent
          151 Farmington Avenue                                                 Unliquidated
          Hartford, CT 06156                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,910.33
          Agracel, Inc                                                          Contingent
          PO Box 1107                                                           Unliquidated
          2201 N Willenborg St., Ste 2                                          Disputed
          Effingham, IL 62401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,727.00
          Air Centers of South Carolina                                         Contingent
          1447 S Batesville Rd                                                  Unliquidated
          Greer, SC 29650                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,175.00
          Alfred H Knight Group
          Kings Business Park                                                   Contingent
          Kings Drive                                                           Unliquidated
          Prescot, Knowsley L34 1PJ                                             Disputed
          United Kingdom
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,054.00
          Amerigas - 5640                                                       Contingent
          8890 Ashville Highway                                                 Unliquidated
          Boiling Springs, SC 29316-4610                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71,905.24
          Bessler's U Pull and Save                                             Contingent
          2412 Petersburg Rd                                                    Unliquidated
          Hebron, KY 41048                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $42,794 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,167.13
          Best Used Auto Parts                                                  Contingent
          Attn: Mr. Omar Zalikha                                                Unliquidated
          7225 NW 84th Avenue                                                   Disputed
          Miami, FL 33166
                                                                             Basis for the claim:    Subject to $91,076 setoff
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,806.64
          Brandywine Auto Parts                                                 Contingent
          14000 Crain Hwy                                                       Unliquidated
          Brandywine, MD 20613                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,800.00
          Comfab, Inc.                                                          Contingent
          4930 North Blackstock Road                                            Unliquidated
          Spartanburg, SC 29303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,807,330.00
          Commerzbank Aktiengesellschaft                                        Contingent
          225 Liberty Street                                                    Unliquidated
          New York, NY 10281-1050                                               Disputed
          Date(s) debt was incurred
                                                                                             Originally $1,200,000 unsecured term loan facility
                                                                             Basis for the claim:
          Last 4 digits of account number                                    dated 2/25/16; principal payments $48,000 quarterly starting 2/28/17
                                                                             with baloon payment on 2/28/2020 term date
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $847,000.00
          Davis Recycling, Inc.                                                 Contingent
          639 Woodlyn Road                                                      Unliquidated
          Johnson City, TN 37601
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             Litigation
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Subject to $26,127 setoff
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,083.50
          Dependable Metal Recycling                                            Contingent
          4140 Moreland Avenue                                                  Unliquidated
          Conley, GA 30288                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $354,146 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,430.00
          Deutsche Leasing USA, Inc                                             Contingent
          190 S LaSalle Street                                                  Unliquidated
          Suite 2150                                                            Disputed
          Chicago, IL 60603
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $98.21
          Duke Energy                                                           Contingent
          919 Beaumont Avenue                                                   Unliquidated
          Spartanburg, SC 29303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $228,132.58
          Eberspaecher North America, Inc.                                      Contingent
          29101 Haggerty Road                                                   Unliquidated
          Novi, MI 48377                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,011.97
          EXACTA Workforce Solutions                                            Contingent
          1074 Asheville HWY                                                    Unliquidated
          Spartanburg, SC 29303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Federal Express Corporation                                           Contingent
          3610 Hacks Cross Road                                                 Unliquidated
          Memphis, TN 38125
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $703,422.00
          Ford Component Sales, LLC                                             Contingent
          290 Town Center Drive                                                 Unliquidated
          Suite 1000                                                            Disputed
          Dearborn, MI 48126
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Ford Component Sales, LLC                                             Contingent
          290 Town Center Drive                                                 Unliquidated
          Suite 1000
          Dearborn, MI 48126                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,565.00
          Freeman Gas                                                           Contingent
          1450 Howard Street                                                    Unliquidated
          Spartanburg, SC 29303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $847.00
          Greenville Scale Company                                              Contingent
          149 Landmark Drive                                                    Unliquidated
          Taylors, SC 29687                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Greystones Maritime International, Inc.                               Contingent
          23465 Rock Haven Way                                                  Unliquidated
          Suite 210
                                                                                Disputed
          Sterling, VA 20166-4429
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,492.16
          Industrial Container Services                                         Contingent
          2600 Maitland Center Pkwy                                             Unliquidated
          Suite 200                                                             Disputed
          Maitland, FL 32751
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,725.89
          Institut Fur Materialprufung Glorfeld                                 Contingent
          Frankenseite 74-76                                                    Unliquidated
          Willich 47877                                                         Disputed
          Germany
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $106,038.50
          Interlake Salvage                                                     Contingent
          47 Patterson Drive                                                    Unliquidated
          Stonewall MB ROC 2Z0                                                  Disputed
          Canada
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,000.00
          International Automotive Core Parts                                   Contingent
          74 Randall Place                                                      Unliquidated
          Springfield, MA 01108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,567.89
          John Zubick Limited                                                   Contingent
          105 Clark Road                                                        Unliquidated
          London, Ontario N5W5C9                                                Disputed
          Canada
                                                                             Basis for the claim:    Subject to $73,088 setoff
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Kuehne + Nagel Services LTD.                                          Contingent
          4100 North Commerce Drive                                             Unliquidated
          East Point, GA 30344                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,547.43
          Lacy Auto Parts Inc                                                   Contingent
          6600 Chambers Road                                                    Unliquidated
          Charles City, VA 23030                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,644.00
          Ledoux & Company                                                      Contingent
          359 Alfred Avenue                                                     Unliquidated
          Teaneck, NJ 07666-5755                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500,000.00
          LKQ Corporation                                                       Contingent
          500 West Madison Street                                               Unliquidated
          Suite 2800
                                                                                Disputed
          Chicago, IL 60661
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,647,795.00
          MAIREC Edelmetallgesellschaft mbH
          Attn: Michael Zoeller                                                 Contingent
          Siemensstraße 20                                                      Unliquidated
          Alzenau 63755                                                         Disputed
          Germany
                                                                             Basis for the claim:    Trade - 2015-2019 Intercompany charges
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,885,000.00
          MAIREC Edelmetallgesellschaft mbH
          Attn: Julia Mairec                                                    Contingent
          Siemensstraße 20                                                      Unliquidated
          Alzenau 63755                                                         Disputed
          Germany
                                                                             Basis for the claim:    Framework Loan Agreement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $343,070.00
          Mastermelt America, LLC                                               Contingent
          319 Industrial Park Road                                              Unliquidated
          Sweetwater, TN 37874                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $4,566 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Multimetco, Inc.                                                      Contingent
          1610 Frank Ayers Road                                                 Unliquidated
          Anniston, AL 36207
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,169.00
          Natural Ventures                                                      Contingent
          2904 West 500 South                                                   Unliquidated
          Salt Lake City, UT 84104                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $24,304 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000,000.00
          PGM of Texas, LLC                                                     Contingent
          126 Texas Avenue                                                      Unliquidated
          San Marcos, TX 78666
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Litigation
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,610.00
          Phillips Staffing
          357 E Blackstock Road                                                 Contingent
          Raintree Office Park II                                               Unliquidated
          Building F                                                            Disputed
          Spartanburg, SC 29301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,602.00
          Reed's Transmission                                                   Contingent
          11805 N. US Highway 25E                                               Unliquidated
          Gray, KY 40734                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,781.59
          Republic Services                                                     Contingent
          684 Mauldin Road                                                      Unliquidated
          Greenville, SC 29607                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Robert Bosch LLC                                                      Contingent
          4421 Highway 81 North                                                 Unliquidated
          Anderson, SC 29621
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,609.07
          Sonitrol Security Services Inc                                        Contingent
          815 Wood Ridge Center Drive                                           Unliquidated
          Charlotte, NC 28217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,966.87
          Staffing Associates                                                   Contingent
          Executive Recruiting Network                                          Unliquidated
          100 Henry Place                                                       Disputed
          Spartanburg, SC 29306
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,795.85
          Stanton's Auto Recycling                                              Contingent
          105 Middle Street                                                     Unliquidated
          Scranton, PA 18508                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Subject to $93,779 setoff
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          SWC Trading, Inc.                                                     Contingent
          1600 1st Avenue South                                                 Unliquidated
          Columbus, MT 59019
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,023.99
          System ID Barcode Solutions                                           Contingent
          1400 10th Street                                                      Unliquidated
          Plano, TX 75074-8648                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,824.00
          The Recycler Core Co., Inc.                                           Contingent
          2727 Kansas Avenue                                                    Unliquidated
          Riverside, CA 92507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,821.30
          TNT Connections, Inc.                                                 Contingent
          PO Box 1094                                                           Unliquidated
          Inman, SC 29349                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,347.97
          Toyota Tsusho America, Inc.                                           Contingent
          805 Third Avenue                                                      Unliquidated
          17th Floor                                                            Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,001.78
          U Pull and Save, LLC                                                  Contingent
          4811 Dr. Martin Luther King, Jr., Blvd                                Unliquidated
          Fort Myers, FL 33905                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Mairec Precious Metals U.S., Inc.                                                       Case number (if known)
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Umicore                                                               Contingent
          A.Greinerstraat 14                                                    Unliquidated
          B-2660 Hoboken
                                                                                Disputed
          Belgium
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,986,591.79
          Unicredit                                                             Contingent
          150 East 42nd Street                                                  Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          UPS Supply Chain Solutions, Inc.                                      Contingent
          28013 Network Place                                                   Unliquidated
          Chicago, IL 60673
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,803.11
          Viking Recycling                                                      Contingent
          1624 State Road 60 West                                               Unliquidated
          Lake Wales, FL 33859                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Volkswagen Group of America, Inc.                                     Contingent
          2200 Ferdinand Porsche Drive                                          Unliquidated
          Herndon, VA 20171
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,187.70
          W.N. Kirkland Inc.                                                    Contingent
          2409 S Pine Street                                                    Unliquidated
          Spartanburg, SC 29302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,897.00
          Waste Industries                                                      Contingent
          1635 Antioch Church Road                                              Unliquidated
          Spartanburg, SC 29306-3805                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 11 of 12
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 Debtor       Mairec Precious Metals U.S., Inc.                                                       Case number (if known)
              Name

 3.64      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $77.50
           Weldor's Supply House, Inc.                                          Contingent
           7220 Asheville Hwy                                                   Unliquidated
           Spartanburg, SC 29303                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       49,575.13
 5b. Total claims from Part 2                                                                            5b.   +    $                   43,592,711.92

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      43,642,287.05




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 12
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Employee Wage Motion Exhibit A
Mairec Precious Metals U.S., Inc.



Employee #    Est. Accrd Wages
       45    $           1,514.43
       69    $             874.25
       78    $             694.03
       25    $             800.00
       61    $           1,723.27
       72    $             660.00
       28    $             887.25
       90    $             670.00
       92    $             646.00
       58    $           1,213.25
       76    $           1,150.00
       67    $             660.00
       23    $           1,150.80
       48    $             680.00
      105    $             680.00
      106    $             670.00
       95    $             612.00
      104    $             640.00
       24    $             845.00
       99    $             483.66
       57    $             620.50
       84    $             670.00
       91    $             657.41
       60    $             591.94
       71    $             696.47
       83    $             620.82
       74    $             640.00
       35    $           7,778.15
       17    $             718.60
      100    $             660.00
       88    $           1,181.75
       73    $             608.07
       85    $             640.00
       34    $             850.00
       63    $             683.19
       59    $             663.10
       96    $             680.00
       89    $           1,104.00
       94    $                -
      102    $             660.00
       87    $             691.00
       80    $             676.28
       68    $           1,149.60
       98    $             594.00
       30    $             903.00
      103    $             640.00
       46    $             864.22
       51    $             690.00
       75    $             922.13
      107    $             594.00
   TOTAL     $         45,702.13
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                                                                     Document     Page 23 of 50
 Fill in this information to identify the case:

 Debtor name         Mairec Precious Metals U.S., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   141 Venture Road
             lease is for and the nature of               $7,249/mo.
             the debtor's interest                        $43,494 remaining due
                                                                                      141 Venture, LLC
                  State the term remaining                Expiration 7/31/2019        Attn: Jake Van Gieson
                                                                                      101 E. Washington Street
             List the contract number of any                                          Suite 400
                   government contract                                                Greenville, SC 29601


 2.2.        State what the contract or                   Apartment Lease
             lease is for and the nature of               $1,250/mo.
             the debtor's interest                        $1,250 remaining due

                  State the term remaining                Expiration 3/31/2019
                                                                                      Abberly Market Point
             List the contract number of any                                          30 Market Point Drive
                   government contract                                                Greenville, SC 29607


 2.3.        State what the contract or                   230 Old Converse Rd
             lease is for and the nature of               Facility
             the debtor's interest                        $16,910/mo.
                                                          $758,228 remaining due
                  State the term remaining                Expiration 10/31/2021       Agracel, Inc.
                                                                                      PO Box 1107
             List the contract number of any                                          2201 N Willenborg St Ste #2
                   government contract                                                Effingham, IL 62401


 2.4.        State what the contract or                   Honda Car Lease
             lease is for and the nature of               $369/mo.
             the debtor's interest                        $10,342 remaining due

                  State the term remaining                Expiration 5/30/2021
                                                                                      American Honda Finance Corp
             List the contract number of any                                          20800 Madrona Avenue
                   government contract                                                Torrance, CA 90503




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 4
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 Debtor 1 Mairec Precious Metals U.S., Inc.                                                   Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Three Contracts:
             lease is for and the nature of
             the debtor's interest                        (1) Unicarrier CF80LP
                                                          Forklift; $1,319/mo.;
                                                          unliquidated

                                                          (2) Unicarrier CF80LP
                                                          CF Ser; $641/mo.;
                                                          unliquidated

                                                          (3) Unicarrier CF50;
                                                          $1,036/mo.;
                                                          unliquidated
                  State the term remaining                                            BB&T Commercial Equipment Capital
                                                                                      2 Great Valley Parkway
             List the contract number of any                                          Suite 300
                   government contract                                                Malvern, PA 19355


 2.6.        State what the contract or                   Forklift
             lease is for and the nature of               $1,025/mo.
             the debtor's interest

                  State the term remaining                Month-to-Month
                                                                                      Crown Lift Trucks
             List the contract number of any                                          929 Berry Shoals Rd
                   government contract                                                Duncan, SC 29334


 2.7.        State what the contract or                   Deutsche Leasing
             lease is for and the nature of               Equipment
             the debtor's interest                        $15,430/mo.
                                                          $447,470 remaining due
                  State the term remaining                Expiration 7/30/2021        Deutsche Leasing USA, Inc
                                                                                      190 South LaSalle Street
             List the contract number of any                                          Suite 2150
                   government contract                                                Chicago, IL 60603


 2.8.        State what the contract or                   26 ft Box Truck
             lease is for and the nature of               $1,710/mo.
             the debtor's interest                        $10,259 remaining due

                  State the term remaining                Expiration 7/31/2019        Enterprise Leasing Company -
                                                                                      Southeast, LLC
             List the contract number of any                                          101 Business Park Blvd., Ste 1100
                   government contract                                                Columbia, SC 29203


 2.9.        State what the contract or                   Forklift
             lease is for and the nature of               $512/mo.
             the debtor's interest                        $24,051 remaining due

                  State the term remaining                Expiration 12/31/2022       Merrimak Capital Company LLC
                                                                                      Attn: Lance Meyer
             List the contract number of any                                          10 Pimentel Court
                   government contract                                                Novato, CA 94949
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 2 of 4
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 Debtor 1 Mairec Precious Metals U.S., Inc.                                                   Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease



 2.10.       State what the contract or                   Nissan CF50 LP Forklift
             lease is for and the nature of               $311/mo.
             the debtor's interest                        $8,707 remaining due

                  State the term remaining                Expiration 5/31/2021        Merrimak Capital Company LLC
                                                                                      Attn: Lance Meyer
             List the contract number of any                                          10 Pimentel Court
                   government contract                                                Novato, CA 94949


 2.11.       State what the contract or                   KOOI Reachforks
             lease is for and the nature of               $117/mo.
             the debtor's interest                        $5,388 remaining due

                  State the term remaining                                            Merrimak Capital Company LLC
                                                                                      Attn: Lance Meyer
             List the contract number of any                                          10 Pimentel Court
                   government contract                                                Novato, CA 94949


 2.12.       State what the contract or                   Rightline Fork Clamp
             lease is for and the nature of               $272/mo.
             the debtor's interest                        $12,532 remaining due

                  State the term remaining                                            Merrimak Capital Company LLC
                                                                                      Attn: Lance Meyer
             List the contract number of any                                          10 Pimentel Court
                   government contract                                                Novato, CA 94949


 2.13.       State what the contract or                   Reachfork, Rotating
             lease is for and the nature of               Clamp
             the debtor's interest                        $422/mo.
                                                          $19,813 remaining due
                  State the term remaining                Expiration 12/31/2022       Merrimak Capital Company LLC
                                                                                      Attn: Lance Meyer
             List the contract number of any                                          10 Pimentel Court
                   government contract                                                Novato, CA 94949


 2.14.       State what the contract or                   Public Storage
             lease is for and the nature of               $148/mo.
             the debtor's interest

                  State the term remaining                Month-to-Month
                                                                                      Public Storage
             List the contract number of any                                          2155 Chesnee Hwy
                   government contract                                                Spartanburg, SC 29303


 2.15.       State what the contract or                   3 Kyocera Copiers
             lease is for and the nature of               $152/mo.
             the debtor's interest                        $6,675 remaining due        Wells Fargo Vendor Financial Services
                                                                                      1961 Hirst Drive
                  State the term remaining                Expiration 10/31/2022       Moberly, MO 65270
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 4
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 Debtor 1 Mairec Precious Metals U.S., Inc.                                                  Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


             List the contract number of any
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Mairec Precious Metals U.S., Inc.

 United States Bankruptcy Court for the:            DISTRICT OF SOUTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      MAIREC                            Siemensstraße 20                                   Agracel, Inc                      D
             Edelmetallgesell                  63755 Alzenau                                                                        E/F       3.8
             schaft mbH                        Germany
                                                                                                                                    G




    2.2      MAIREC                            Siemensstraße 20                                   Robert Bosch LLC                  D
             Edelmetallgesell                  63755 Alzenau                                                                        E/F       3.47
             schaft mbH                        Germany
                                                                                                                                    G




    2.3      MAIREC                            Siemensstraße 20                                   Ford Component                    D
             Edelmetallgesell                  63755 Alzenau                                      Sales, LLC                        E/F       3.24
             schaft mbH                        Germany
                                                                                                                                    G




    2.4      MAIREC                            Siemensstraße 20                                   Commerzbank                       D
             Edelmetallgesell                  63755 Alzenau                                      Aktiengesellschaft                E/F       3.16
             schaft mbH                        Germany
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       Mairec Precious Metals U.S., Inc.                                              Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.5      MAIREC                            Siemensstraße 20                                   Unicredit                 D
             Edelmetallgesell                  63755 Alzenau                                                                E/F       3.58
             schaft mbH                        Germany
                                                                                                                            G




    2.6      MAIREC                            Siemensstraße 20                                   BASF Corporation          D
             Edelmetallgesell                  63755 Alzenau                                                                E/F
             schaft mbH                        Germany                                                                      G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Mairec Precious Metals U.S., Inc.                                                                         Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 MAIREC Edelmetallgesellschaft mbH                                                    1,000 shares (100% equity                  Common Stock
 Siemensstraße 20                                                                     interest)
 63755 Alzenau
 Germany


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the corporation named as the debtor in this case, declare under penalty of
perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my
information and belief.



 Date February 28, 2019                                                      Signature /s/ David M. Baker
                                                                                            David M. Baker

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Mairec Precious Metals U.S., Inc.                                                             Case No.
                                                                                  Debtor(s)               Chapter    11



           STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION
       I, David M. Baker, declare under penalty of perjury that I am the Chief Restructuring Officer of Mairec
Precious Metals U.S., Inc.,
                          and that the following is a true and correct copy of the resolutions adopted by the Board
of Directors of said corporation at a special meeting duly called and held on the 26th day of February, 2019.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that David M. Baker, Chief Restructuring Officer of this Corporation, is authorized
and directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

         Be It Further Resolved, that David M. Baker, Chief Restructuring Officer of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that David M. Baker, Chief Restructuring Officer of this Corporation is authorized and
directed to employ G. William McCarthy Jr. 2762, attorney and the law firm of McCarthy, Reynolds, & Penn, LLC to
represent the corporation in such bankruptcy case."

 Date          February 28, 2019                                                Signed        /s/David M. Baker
                                                                                         David M. Baker




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                                                   LOCAL OFFICIAL FORM 1007-1(b) TO SC LBR 1007-1

                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Mairec Precious Metals U.S., Inc.                                                               Case No.
                                                                                    Debtor(s)               Chapter    11


                                           CERTIFICATION VERIFYING CREDITOR MATRIX
         The above named debtor, or attorney for the debtor if applicable, hereby certifies pursuant to South Carolina Local
Bankruptcy Rule 1007-1 that the master mailing list of creditors submitted either on computer diskette, electronically filed via
CM/ECF, or conventionally filed in a typed hard copy scannable format which has been compared to, and contains identical
information to, the debtor's schedules, statements and lists which are being filed at this time or as they currently exist in draft form.

            Master mailing list of creditors submitted via:

                        (a)                  computer diskette

                        (b)           scannable hard copy
                        (number of sheets submitted       )

                        (c)         X     electronic version filed via CM/ECF




 Date:       February 28, 2019                                           /s/ David M. Baker
                                                                         David M. Baker/Chief Restructuring Officer
                                                                         Signer/Title

 Date: February 28, 2019                                                 /s/ G. William McCarthy Jr.
                                                                         Signature of Attorney
                                                                         G. William McCarthy Jr. 2762
                                                                         McCarthy, Reynolds, & Penn, LLC
                                                                         P. O. Box 11332
                                                                         Columbia, SC 29211-1332
                                                                         803-771-8836 Fax: 803-753-6960
                                                                         Typed/Printed Name/Address/Telephone

                                                                         2762 SC
                                                                         District Court I.D. Number




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                        123 BEARING
                        60 RUE DU HAUT DE SAINGHIN
                        CRT 4 DE LESQUINN RUE LEO FERRE
                        59273 FRETIN
                        FRANCE


                        141 VENTURE, LLC
                        ATTN: JAKE VAN GIESON
                        101 E. WASHINGTON STREET
                        SUITE 400
                        GREENVILLE SC 29601


                        366 PROCESSING SERVICE, INC.
                        5115 EAST HWY 80
                        SOMERSET KY 42502


                        A1 SPECIALIZED SERVICES & SUPPLIES
                        2797 STATE ROAD
                        CROYDON PA 19021


                        AARON DUDLEY
                        116 BURNS ROAD
                        SPARTANBURG SC 29307


                        AARON GRIGG
                        645 APPLE ORCHARD RD
                        INMAN SC 29349


                        ABBERLY MARKET POINT
                        30 MARKET POINT DRIVE
                        GREENVILLE SC 29607


                        ABC USED AUTO PARTS
                        18609 E COLONIAL DRIVE
                        ORLANDO FL 32820


                        ADAMS SCRAP RECYCLING, LLC
                        419 OLD EASLEY HWY
                        GREENVILLE SC 29611


                        AETNA, INC
                        151 FARMINGTON AVENUE
                        HARTFORD CT 06156
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                    AGRACEL, INC
                    PO BOX 1107
                    2201 N WILLENBORG ST., STE 2
                    EFFINGHAM IL 62401


                    AGRACEL, INC.
                    PO BOX 1107
                    2201 N WILLENBORG ST STE #2
                    EFFINGHAM IL 62401


                    AIR CENTERS OF SOUTH CAROLINA
                    1447 S BATESVILLE RD
                    GREER SC 29650


                    ALEXANDER KRATZ
                    765 BATTLEGROUND RD
                    COWPENS SC 29330


                    ALFRED H KNIGHT GROUP
                    KINGS BUSINESS PARK
                    KINGS DRIVE
                    PRESCOT, KNOWSLEY L34 1PJ
                    UNITED KINGDOM


                    ALS GLOBAL
                    1&2 CADDICK ROAD
                    KNOWSLEY BUSINESS PARK
                    PRESCOTT L34 9HP
                    UNITED KINGDOM


                    AMAZON.COM
                    PO BOX 530958
                    ATLANTA GA 30353-0958


                    AMERICAN HONDA FINANCE CORP
                    20800 MADRONA AVENUE
                    TORRANCE CA 90503


                    AMERIGAS - 5640
                    8890 ASHVILLE HIGHWAY
                    BOILING SPRINGS SC 29316-4610


                    AMERITAS LIFE INS COMPANY
                    PO BOX 81889
                    LINCOLN NE 68501-1889
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                    ANDRE BREWTON
                    333 BETHLEHAM CHURCH ROAD
                    MOORE SC 29369


                    BAGWELL FENCE COMPANY
                    3099 S PINE STREET
                    SPARTANBURG SC 29302


                    BASF CORPORATION
                    25 MIDDLESEX-ESSEX TURNPIKE
                    ISELIN NJ 08830


                    BB&T COMMERCIAL EQUIPMENT CAPITAL
                    2 GREAT VALLEY PARKWAY
                    SUITE 300
                    MALVERN PA 19355


                    BESSLER'S U PULL AND SAVE
                    2412 PETERSBURG RD
                    HEBRON KY 41048


                    BEST USED AUTO PARTS
                    ATTN: MR. OMAR ZALIKHA
                    7225 NW 84TH AVENUE
                    MIAMI FL 33166


                    BLICKLE USA WHEELS & CASTERS
                    75 COWETA INDUSTRIAL PARKWAY
                    NEWNAN GA 30265


                    BRANDYWINE AUTO PARTS
                    14000 CRAIN HWY
                    BRANDYWINE MD 20613


                    BRYANT PEARSON
                    789 N VERNON STREET
                    SPARTANBURG SC 29303


                    CANTEEN REFRESHMENT SERVICES
                    PO BOX 417632
                    BOSTON MA 02241-7632


                    CARCEDRICK WILLIAMS
                    100 DUNCAN ST., APT C4
                    DUNCAN SC 29334
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                    CARSON'S NUT BOLT & TOOL
                    522 BROADCAST ROAD
                    SPARTANBURG SC 29303


                    CASEY HAWKINS
                    7051 NEW CUT ROAD
                    INMAN SC 29349


                    CASSANDRA TARR
                    501 CAMELOT DRIVE, APT 26
                    SPARTANBURG SC 29301


                    CASSEL ELECTRIC INC
                    314 EXCHANGE STREET
                    SPARTANBURG SC 29306


                    CHARLES SWEEZY
                    141 FAULKNER CIRCLE
                    GREER SC 29651


                    CHASE MILLER
                    840 DOC THOMPSON LANE
                    INMAN SC 29349


                    CHRISTOPHER HOLMES
                    260 DRAYTONVILLE RD
                    GAFFNEY SC 29340


                    CINTAS CORPORATION #OG82
                    PO BOX 631025
                    CINCINNATI OH 45263-1025


                    COMFAB, INC.
                    4930 NORTH BLACKSTOCK ROAD
                    SPARTANBURG SC 29303


                    COMIC PORTER
                    104 RAINTREE DRIVE
                    SPARTANBURG SC 29301


                    COMMERZBANK AKTIENGESELLSCHAFT
                    225 LIBERTY STREET
                    NEW YORK NY 10281-1050
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                    CORNELL DRUMMOND
                    PO BOX 6816
                    SPARTANBURG SC 29304


                    CROWN LIFT TRUCKS
                    929 BERRY SHOALS RD
                    DUNCAN SC 29334


                    CUSTOM FOREST PRODUCTS INC
                    145 COASTLINE ROAD
                    SPARTANBURG SC 29301


                    DAMON RICHARDSON
                    129 IRIS LANE
                    GAFFNEY SC 29341


                    DANIEL LEGETTE
                    177 NOTCHWOODS DRIVE
                    BOILING SPRINGS SC 29316


                    DANNY PHILAVONG
                    404 DELLWATER WAY
                    SPARTANBURG SC 29306


                    DAVIS RECYCLING, INC.
                    639 WOODLYN ROAD
                    JOHNSON CITY TN 37601


                    DAWN BELUE
                    593 GIST BRIDGE ROAD
                    BUFFALO SC 29321


                    DEPENDABLE METAL RECYCLING
                    4140 MORELAND AVENUE
                    CONLEY GA 30288


                    DEUTSCHE LEASING USA, INC
                    190 SOUTH LASALLE STREET
                    SUITE 2150
                    CHICAGO IL 60603


                    DOUGLAS PEST CONTROL
                    PO BOX 931
                    SPARTANBURG SC 29304
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                    DUKE ENERGY
                    919 BEAUMONT AVENUE
                    SPARTANBURG SC 29303


                    DUKE ENERGY
                    PO BOX 70516
                    CHARLOTTE NC 28201-1090


                    EBERSPAECHER NORTH AMERICA, INC.
                    29101 HAGGERTY ROAD
                    NOVI MI 48377


                    EDWARD J DARBY & SON
                    2200 N 8TH STREET
                    OMAHA NE 68138


                    EMPLOYMENT SCREENING SERVICES
                    DEPT K
                    PO BOX 830520
                    BIRMINGHAM AL 35283


                    ENTERPRISE LEASING COMPANY -
                    SOUTHEAST, LLC
                    101 BUSINESS PARK BLVD., STE 1100
                    COLUMBIA SC 29203


                    ENVIRONMENTAL SAFETY SALES
                    147 A GRACE DRIVE
                    EASLEY SC 29640


                    EXACTA WORKFORCE SOLUTIONS
                    1074 ASHEVILLE HWY
                    SPARTANBURG SC 29303


                    FEDERAL EXPRESS CORPORATION
                    3610 HACKS CROSS ROAD
                    MEMPHIS TN 38125


                    FORD COMPONENT SALES, LLC
                    290 TOWN CENTER DRIVE
                    SUITE 1000
                    DEARBORN MI 48126
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                    FREEMAN GAS
                    1450 HOWARD STREET
                    SPARTANBURG SC 29303


                    FREEMAN GAS
                    PO BOX 4366
                    SPARTANBURG SC 29305


                    GRAINGER INDUSTRIAL SUPPLY
                    730 CONGAREE ROAD
                    GREENVILLE SC 29607


                    GREENVILLE SCALE COMPANY
                    149 LANDMARK DRIVE
                    TAYLORS SC 29687


                    GREYSTONES MARITIME INTERNATIONAL, INC.
                    23465 ROCK HAVEN WAY
                    SUITE 210
                    STERLING VA 20166-4429


                    HERAEUS METALS NEW YORK LLC
                    540 MADISON AVENUE
                    NEW YORK NY 10022


                    HOWARD CARTER
                    620 OLD GREENVILLE ROAD
                    SPARTANBURG SC 29301


                    HYDRADYNE LLC
                    1635 ASHEVILLE HWY
                    SPARTANBURG SC 29303


                    INDUSTRIAL CONTAINER SERVICES
                    2600 MAITLAND CENTER PKWY
                    SUITE 200
                    MAITLAND FL 32751


                    INPANH MALAYTHONG
                    210 DONAVON DRIVE
                    SPARTANBURG SC 29302
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                    INSPECTORATE INTERNATIONAL LTD
                    12000 AEROSPACE AVENUE
                    SUITE 200
                    HOUSTON TX 77034


                    INSTITUT FUR MATERIALPRUFUNG GLORFELD
                    FRANKENSEITE 74-76
                    WILLICH 47877
                    GERMANY


                    INTERLAKE SALVAGE
                    47 PATTERSON DRIVE
                    STONEWALL MB ROC 2Z0
                    CANADA


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY OPERATION
                    PO BOX 7346
                    PHILADELPHIA PA 19101-7346


                    INTERNATIONAL AUTOMOTIVE CORE PARTS
                    74 RANDALL PLACE
                    SPRINGFIELD MA 01108


                    INTERNATIONAL MOVERS NETWORK
                    147-39 175TH STREET
                    SUITE 122
                    JACKSONVILLE FL 32256


                    JAMES PEA
                    106 KENSINGTON DR., APT 208
                    SPARTANBURG SC 29301


                    JAMISON MEADOWS
                    107 CAROLYN DRIVE
                    SPARTANBURG SC 29306


                    JANET GRACE
                    16 WOFFORD STREET
                    INMAN SC 29349


                    JEFFREY KELLY
                    3 SWEETBRIAR LANE
                    SPARTANBURG SC 29301
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                    JESSE RODRIGUEZ
                    350 BRYANT RD., APT B7
                    SPARTANBURG SC 29303


                    JMA PLACEMENT INC
                    C/O ALLEGIANT BUSINESS FINANCE
                    600 UNIVERSITY STREET
                    SUITE 2328
                    SEATTLE WA 98101


                    JOHN ZUBICK LIMITED
                    105 CLARK ROAD
                    LONDON, ONTARIO N5W5C9
                    CANADA


                    JOHNATHAN BOBO
                    2479 COUNTRY CLUB ROAD, APT 12
                    SPARTANBURG SC 29302


                    JOHNNY JOHNSON
                    2854 CHESNEE HWY
                    GAFFNEY SC 29341


                    JOHNNY LEE
                    320 STONE STREET
                    PACOLET MILLS SC 29373


                    JOHNSON MATTHEY PRECIOUS METALS
                    435 DEVON PARK DRIVE
                    SUITE 600
                    WAYNE DE 19807-1998


                    JOSEPH STATLER
                    2161 FAIRFIELD ROAD
                    CHESNEE SC 29323


                    JOSHUA S WILLIAMS
                    603 TRADE STREET
                    GREER SC 29651


                    KARON GARCIA-WILLIAMS
                    306 COUNTRYSIDE CIRCLE
                    MOORE SC 29369
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                    KEGAN ROBERTS
                    254 FARROW ROAD
                    JONESVILLE SC 29353


                    KEITH TUCKER
                    362 JUNCTION RIDGE PARK
                    SPARTANBURG SC 29306


                    KENNETH TAREZZ WILKINS
                    226 KENNETH DRIVE
                    BOILING SPRINGS SC 29316


                    KUEHNE + NAGEL SERVICES LTD.
                    4100 NORTH COMMERCE DRIVE
                    EAST POINT GA 30344


                    LACY AUTO PARTS INC
                    6600 CHAMBERS ROAD
                    CHARLES CITY VA 23030


                    LEB SERVICES, LLC
                    DBA JAN-PRO OF THE WESTERN CAROLINAS
                    128 MILESTONE WAY
                    GREENVILLE SC 29615


                    LEDOUX & COMPANY
                    359 ALFRED AVENUE
                    TEANECK NJ 07666-5755


                    LEHIGH OUTFITTERS
                    39 EAST CANAL STREET
                    NELSONVILLE OH 45764


                    LKQ CORPORATION
                    500 WEST MADISON STREET
                    SUITE 2800
                    CHICAGO IL 60661


                    LOSY SAKNGOURNN
                    632 VANNEY CIRCLE
                    BOILING SPRINGS SC 29316
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                    MAIREC EDELMETALLGESELLSCHAFT MBH
                    ATTN: MICHAEL ZOELLER
                    SIEMENSSTRAßE 20
                    ALZENAU 63755
                    GERMANY


                    MAIREC EDELMETALLGESELLSCHAFT MBH
                    ATTN: JULIA MAIREC
                    SIEMENSSTRAßE 20
                    ALZENAU 63755
                    GERMANY


                    MASTERMELT AMERICA, LLC
                    319 INDUSTRIAL PARK ROAD
                    SWEETWATER TN 37874


                    MAXUS PLAN SOLUTIONS, INC.
                    ATTN: JAMES HARABEDIAN
                    13850 BALLANTYNE CORPORATE PLACE
                    SUITE 500
                    CHARLOTTE NC 28277


                    MCMASTER-CARR
                    1901 RIVERSIDE PARKWAY
                    DOUGLASVILLE GA 30135-3150


                    MERRIMAK CAPITAL COMPANY LLC
                    ATTN: LANCE MEYER
                    10 PIMENTEL COURT
                    NOVATO CA 94949


                    MICHAEL MILLER
                    2030 W CROFT CIRCLE, APT B
                    SPARTANBURG SC 29302


                    MITCHELL MORRIS
                    1381 GAFFNEY HWY
                    JONESVILLE SC 29353


                    MOTION INDUSTRIES
                    100 CORPORATE DRIVE
                    SUITE E
                    SPARTANBURG SC 29303
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                    MULTIMETCO, INC.
                    1610 FRANK AYERS ROAD
                    ANNISTON AL 36207


                    NATURAL VENTURES
                    2904 WEST 500 SOUTH
                    SALT LAKE CITY UT 84104


                    NICHOLAS DAVIS
                    112 ROSS ROAD
                    BLACKSBURG SC 29702


                    NICHOLAS HOWARD
                    381 MORGAN ROAD
                    WELLFORD SC 29385


                    NICHOLAS MILLS
                    501 CAMELOT DRIVE, APT 35
                    SPARTANBURG SC 29301


                    PGM OF TEXAS, LLC
                    126 TEXAS AVENUE
                    SAN MARCOS TX 78666


                    PHILLIPS STAFFING
                    357 E BLACKSTOCK ROAD
                    RAINTREE OFFICE PARK II
                    BUILDING F
                    SPARTANBURG SC 29301


                    PHONESAVAD SIHACHACK
                    205 DONAVAN DRIVE
                    SPARTANBURG SC 29302


                    PIVOTAL IT
                    828 EAST MAIN STREET
                    SPARTANBURG SC 29302


                    PUBLIC STORAGE
                    2155 CHESNEE HWY
                    SPARTANBURG SC 29303


                    REED'S TRANSMISSION
                    11805 N. US HIGHWAY 25E
                    GRAY KY 40734
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                    REGINALD FRYE
                    390 MARLETTE RD
                    INMAN SC 29349


                    REPUBLIC SERVICES
                    684 MAULDIN ROAD
                    GREENVILLE SC 29607


                    RICHARD LITTLEJOHN
                    121 LOCKHART LANE
                    GAFFNEY SC 29341


                    RICHARD WADE
                    1055 HUNT CLUB LANE
                    SPARTANBURG SC 29301


                    ROBERT BOSCH LLC
                    4421 HIGHWAY 81 NORTH
                    ANDERSON SC 29621


                    ROBERT PERRY
                    119 FORTUNE DRIVE
                    ROEBUCK SC 29376


                    ROMAN RODRIGUEZ
                    140 RIVERVIEW STREET
                    CONVERSE SC 29329


                    SC DEPARTMENT OF REVENUE
                    300A OUTLET POINTE BOULEVARD
                    PO BOX 12265
                    COLUMBIA SC 29211-9979


                    SC DEPT OF EMPLOYMENT AND WORKFORCE
                    1550 GADSDEN STREET
                    PO BOX 8597
                    COLUMBIA SC 29202


                    SELTROL INC
                    RMA 203053
                    9 TOWER DRIVE
                    GREENVILLE SC 29607
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                    SHIPPERS SUPPLY INC
                    735 SPRING STREET
                    PO BOX 8238
                    SPARTANBURG SC 29305


                    SHRED-IT
                    28883 NETWORK PLACE
                    CHICAGO IL 60673-1288


                    SONITROL SECURITY SERVICES INC
                    815 WOOD RIDGE CENTER DRIVE
                    CHARLOTTE NC 28217


                    SPARTANBURG COUNTY ASSESSORS OFFICE
                    SPARTANBURG COUNTY ADMINISTRATION BLDG
                    366 N CHURCH STREET
                    SPARTANBURG SC 29303


                    SPARTANBURG WATER SYSTEM
                    200 COMMERCE STREET
                    PO BOX 251
                    SPARTANBURG SC 29304


                    SPECTRUM BUSINESS
                    CHARTER COMMUNICATIONS
                    PO BOX 742614
                    CINCINNATI OH 45274-2614


                    SPIRIT COMMUNICATIONS
                    PO BOX 603030
                    CHARLOTTE NC 28260-3030


                    STAFFING ASSOCIATES
                    EXECUTIVE RECRUITING NETWORK
                    100 HENRY PLACE
                    SPARTANBURG SC 29306


                    STANTON'S AUTO RECYCLING
                    105 MIDDLE STREET
                    SCRANTON PA 18508


                    STERLING MILLER
                    345 AMHERST DRIVE
                    SPARTANBURG SC 29306
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                    SWC TRADING, INC.
                    1600 1ST AVENUE SOUTH
                    COLUMBUS MT 59019


                    SYSTEM ID BARCODE SOLUTIONS
                    1400 10TH STREET
                    PLANO TX 75074-8648


                    TEQUIPMENT.NET
                    205 WESTWOOD AVENUE
                    LONG BRANCH NJ 07740


                    THE RECYCLER CORE CO., INC.
                    2727 KANSAS AVENUE
                    RIVERSIDE CA 92507


                    THERSAN JONES
                    411 BALSAM STREET
                    SPARTANBURG SC 29303


                    THOMAS GROB
                    30 MARKET POINT DRIVE, APT 230
                    GREENVILLE SC 29607


                    TNT CONNECTIONS, INC.
                    PO BOX 1094
                    INMAN SC 29349


                    TOYOTA TSUSHO AMERICA, INC.
                    805 THIRD AVENUE
                    17TH FLOOR
                    NEW YORK NY 10022


                    U PULL AND SAVE, LLC
                    4811 DR. MARTIN LUTHER KING, JR., BLVD
                    FORT MYERS FL 33905


                    UMICORE
                    A.GREINERSTRAAT 14
                    B-2660 HOBOKEN
                    BELGIUM


                    UNICREDIT
                    150 EAST 42ND STREET
                    NEW YORK NY 10017
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                    UPS SUPPLY CHAIN SOLUTIONS, INC.
                    28013 NETWORK PLACE
                    CHICAGO IL 60673


                    VERIZON WIRELESS
                    PO BOX 408
                    NEWARK NJ 07101-0408


                    VIKING RECYCLING
                    1624 STATE ROAD 60 WEST
                    LAKE WALES FL 33859


                    VLADIMIR LIVCHIN
                    4 DUCHESS CT
                    INMAN SC 29349


                    VOLKSWAGEN GROUP OF AMERICA, INC.
                    2200 FERDINAND PORSCHE DRIVE
                    HERNDON VA 20171


                    W.N. KIRKLAND INC.
                    2409 S PINE STREET
                    SPARTANBURG SC 29302


                    WASTE INDUSTRIES
                    1635 ANTIOCH CHURCH ROAD
                    SPARTANBURG SC 29306-3805


                    WELDOR'S SUPPLY HOUSE, INC.
                    7220 ASHEVILLE HWY
                    SPARTANBURG SC 29303


                    WELLS FARGO VENDOR FINANCIAL SERVICES
                    1961 HIRST DRIVE
                    MOBERLY MO 65270


                    WESCO
                    706-A GARLINGTON ROAD
                    GREENVILLE SC 29615


                    WESLEY GAULT
                    1349 WEST SPRINGS HWY
                    JONESVILLE SC 29353
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                                                               United States Bankruptcy Court
                                                                       District of South Carolina
 In re      Mairec Precious Metals U.S., Inc.                                                              Case No.
                                                                                   Debtor(s)               Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Mairec Precious Metals U.S., Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 MAIREC Edelmetallgesellschaft mbH
 Siemensstraße 20
 63755 Alzenau
 Germany




    None [Check if applicable]




 February 28, 2019                                                     /s/ G. William McCarthy Jr.
 Date                                                                  G. William McCarthy Jr. 2762
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Mairec Precious Metals U.S., Inc.
                                                                       McCarthy, Reynolds, & Penn, LLC
                                                                       P. O. Box 11332
                                                                       Columbia, SC 29211-1332
                                                                       803-771-8836 Fax:803-753-6960




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